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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


BELCALIS MARLENIS ALMÁNZAR,

                            Plaintiff,
         v.                                             Case No. 1:19-cv-01301-WMR

LATASHA TRANSRINA KEBE a/k/a
LATASHA TRANSRINA HOWARD and
KEBE STUDIOS LLC,

                            Defendants.


                    PLAINTIFF’S MOTION
       FOR SUMMARY JUDGMENT AGAINST DEFENDANT KEBE

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Local Rule

56.1, Plaintiff Belcalis Marlenis Almánzar (“Plaintiff”) seeks summary judgment

against Defendant Latasha Transrina Kebe (“Kebe”) as follows:

       (1)    Plaintiff seeks partial summary judgment on her claims for

defamation per se (Counts I and III) finding as a matter of law that Kebe is liable

and that Plaintiff is entitled to injunctive relief.1




1
 Plaintiff also has asserted a claim for slander per quod (Count II). It would only
become necessary to reach that claim if there is a finding that one or more
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      (2)    Plaintiff seeks partial summary judgment on her claim for intentional

infliction of emotional distress (Count V) finding as a matter of law that Kebe’s

conduct was (a) intentional or reckless and (b) extreme and outrageous.

      (3)    Plaintiff seeks summary judgment on each of Kebe’s remaining

counterclaims.

      A proposed order is submitted with this motion, which is supported by the

accompanying memorandum of law, declarations, and record in this case.



Dated: December 30, 2020                Respectfully submitted,

                                        /s/ W. Andrew Pequignot
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statements is not slander per se. Plaintiff also has not moved on her invasion of
privacy - false light claim (Count IV) and instead has reserved this claim for trial.
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                           Attorneys for Plaintiff
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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
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BELCALIS MARLENIS ALMÁNZAR,

                          Plaintiff,
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                                                  Case No. 1:19-cv-01301-WMR
LATASHA TRANSRINA KEBE a/k/a
LATASHA TRANSRINA HOWARD and
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                          Defendants.


                          CERTIFICATE OF SERVICE

      I hereby certify that on December 30, 2020, I electronically filed the

foregoing PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT AGAINST

DEFENDANT KEBE with the Clerk of the Court using the CM/ECF system,

which will automatically send email notification of such filing to all of the

attorneys of record


                                        /s/ W. Andrew Pequignot
                                        W. Andrew Pequignot
